Case 19-44696     Doc 21    Filed 11/21/19 Entered 11/21/19 18:39:58         Main Document
                                         Pg 1 of 2



                UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF MISSOURI
                        EASTERN DIVISION
IN RE:                          ) CASE NO: 19-44696-399
ANTONIO L GONZALES              ) Chapter 13
                                ) Re: Objection to Notice of Post-Petition
                                )     Mortgage Fees, Expenses and Charges
                                )
                                )     Response Due: December 12, 2019
              Debtor            )
                                )
  TRUSTEE'S OBJECTION TO NOTICE OF POST-PETITION MORTGAGE FEES,
                EXPENSES AND CHARGES AND NOTICE
THIS OBJECTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
YOU OPPOSE THE OBJECTION, YOU SHOULD IMMEDIATELY CONTACT THE
MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE
MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21
DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE
WHY THE OBJECTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
NOTICE TO YOU. IF YOU OPPOSE THE OBJECTION AND HAVE NOT REACHED
AN AGREEMENT, YOU MUST ATTEND THE HEARING, THE DATE OF WHICH
WILL BE SENT TO YOU IF YOU FILE A RESPONSE. UNLESS THE PARTIES
AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING
AND MAY DECIDE THE OBJECTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.

    COMES NOW Diana S. Daugherty, Standing Chapter 13 Trustee in Bankruptcy, and for her
Objection to the Notice of Post-Petition Fees, Expenses and Charges for Claim 4 states as
follows:
    The Notice of Post-Petition Fees, Expenses and Charges for Claim 4 filed by Home Point
    Financial Corporation in the amount of $650.00 should be denied as filed because
    post-petition attorney fees exceed normal rates for this district. The Trustee seeks an
    order allowing the notice in the amount of $500.00.
   WHEREFORE Trustee prays the Court will enter its order sustaining this objection.
Case 19-44696      Doc 21     Filed 11/21/19 Entered 11/21/19 18:39:58            Main Document
                                           Pg 2 of 2


19-44696 TRUSTEE'S OBJECTION TO NOTICE OF POST-PETITION MORT                       11/21/2019 Page 2

Dated: November 21, 2019                             /s/ Diana S. Daugherty
                                                     Diana S. Daugherty
OBJNTCPPF--JS
                                                     Standing Chapter 13 Trustee
                                                     P.O. Box 430908
                                                     St. Louis, MO 63143
                                                     (314) 781-8100 Fax: (314) 781-8881
                                                     trust33@ch13stl.com
                                   CERTIFICATE OF SERVICE
    I certify that a true and correct copy of the foregoing document was filed electronically on
November 21, 2019, with the United States Bankruptcy Court, and has been served on the parties
in interest via e-mail by the Court's CM/ECF System as listed on the Court's Electronic Mail
Notice List.

     I certify that a true and correct copy of the foregoing document was filed electronically with
the United States Bankruptcy Court, and has been served by Regular United States Mail Service,
first class, postage fully pre-paid, addressed to those parties listed on the Court's Manual Notice
List and listed below on November 21, 2019.

     ANTONIO L GONZALES                              HOME POINT FINANCIAL CORP
     2534 STILLWATER DR                              11511 LUNA RD
     O FALLON, MO 63368                              STE 300
                                                     FARMERS BRANCH, TX 75234

     SOTTILE & BARILE LLC
     394 WARDS CORNER RD
     STE 180
     LOVELAND, OH 45140

                                                     /s/ Diana S. Daugherty
                                                     Diana S. Daugherty, Chapter 13 Trustee
